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12
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13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15
      UNITED STATES OF AMERICA,                    Case No. 2:21-cv-06968-RGK-MAR
16
                 Plaintiff,                        PLAINTIFF UNITED STATES OF
17                                                 AMERICA’S APPLICATION
                        v.                         PURSUANT TO 18 U.S.C. § 981(g)(5)
18                                                 AND LOCAL RULE 79-6 TO FILE OR
      $305,000.00 IN U.S. CURRENCY,                LODGE IN CAMERA NON-PUBLIC
19                                                 DECLARATION IN SUPPORT OF
                 Defendant.                        PLAINTIFF’S STATUS REPORT
20                                                 REGARDING THE ONGOING
                                                   RELATED FEDERAL CRIMINAL
21                                                 INVESTIGATION; [PROPOSED]
                                                   ORDER GRANTING THE
22                                                 APPLICATION LODGED UNDER
                                                   SEPARATE COVER
23 MICHAEL MAGEE,
                                                   Date:      None
24                                                 Time:      None
           Claimant.                               Courtroom: None
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1                                            APPLICATION
2            Pursuant to 18 U.S.C. § 981(g)(5) and Local Rule 79-6, plaintiff United States of
3      America (“the government”) hereby applies for an order to file or lodge in camera a non-
4      public declaration in support of the government’s status report regarding the ongoing
5      federal criminal investigation related to the instant civil forfeiture case.1 By order filed
6      March 8, 2022, the Court granted the government’s motion to stay this civil forfeiture
7      action pursuant to 18 U.S.C. § 981(g)(1), the mandatory stay provision which provides
8      for a stay of a civil forfeiture action where civil discovery will adversely affect the
9      government’s ability to conduct a related criminal investigation or the prosecution of a
10     related criminal case. In order to allow the Court to monitor the status of the criminal
11     investigation, the Court also ordered the government to file status reports every ninety
12     (90) days regarding the status of the criminal investigation.2
13           In connection with the government’s stay motion, the Court granted the
14     government’s application which, like the instant application, sought permission to file or
15     lodge in camera a non-public declaration in support of the stay. The government’s
16     application noted that with respect to a motion to stay under 18 U.S.C. § 981(g),
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               It is the government’s understanding that, because this is an application to file or
       lodge the non-public declaration in camera pursuant to Local Rule 79-6, Local Rules 79-
19     5.2 and 79-5.3 and Paragraph 17 of the Court’s Standing Order, both of which pertain to
       applications to file documents under seal, do not apply. See Local Rule 79-5.1
20     (distinguishing under seal and in camera filings). Unlike applications to seal where the
       sealed document is served on opposing counsel, the government does not intend to serve
21     the non-public declaration it seeks to lodge with the Court in camera and is relying (as
       explained in more detail below) on Local Rule 79-6 and 18 U.S.C. § 981(g)(5) as the
22     authority to permit the document to be lodged with the Court.
23           2
               The government is filing identical applications in the following five cases:
24     (1) United States of America v. $305,000.00 in U.S. Currency; Claimant Michael
       Magee, Case No. 2:21-cv-06968-RGK-MAR; (2) United States of America v.
25     $600,980.00 in U.S. Currency; Claimant Mitchell Magee, Case No. 2:21-cv-06965-
       RGK-MAR; (3) United States of America v. $399,000.00 in U.S. Currency and
26     Miscellaneous Items of Jewelry; Claimant Derrick Polk, Case No. 2:21-cv-06966-RGK-
       MAR; (4) United States of America v. $341,500.00 in U.S. Currency; Claimant Ike
27     Roberts, Case No. 2:21-cv-06967-RGK-MAR; and (5) United States of America v.
       $217,285.00 in U.S. Currency, et al.; Claimant Mitchell Magee, Case No. 2:22-cv-00015
28     RGK-MAR.
                                                     2
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1      Congress has authorized the filing of evidence ex parte in order to avoid disclosing any
2      matter that may adversely affect an ongoing criminal investigation or a related criminal
3      case. See 18 U.S.C. § 981(g)(5) (“In requesting a stay under paragraph (1), the
4      government may, in appropriate cases, submit evidence ex parte in order to avoid
5      disclosing any matter that may adversely affect an ongoing criminal investigation or
6      pending criminal trial”).3 As to the instant application, which seeks permission to file
7      the non-public declaration with regard to the status report regarding the status of the
8      ongoing related criminal investigation (and thus showing the need to continue the stay
9      under 18 U.S.C. § 981(g)(1)), the Court has noted with regard to the status report that
10     “[i]f necessary, the Government may file confidential supporting information in camera,
11     pursuant to 18 U.S.C. § 981(g)(5).” See United States of America v. $600,980.00 in
12     U.S. Currency, Case No. 2:21-cv-06965-RGK-MAR, Docket No. 53 (filed November
13     15, 2022) at 4.
14           Accordingly, the government is hereby requesting permission to file or lodge in
15     camera a non-public declaration, in support of the government’s status report regarding
16     the status of the ongoing related criminal investigation. Unless the Court authorizes the
17     filing or lodging in camera4 of the non-public declaration, the disclosure of information
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                Accord, United States v. GAF Financial Services, Inc., 335 F. Supp. 2d 1371,
20     1373 n.2 (S.D. Fla. 2004) (“the statute [i.e., 18 U.S.C. § 981(g)(5)] allows for the
       government to submit evidence in an [sic] confidential, ex parte form,” despite any
21     objection by a claimant) (citation omitted); United States v. Real Property and
       Improvements Located At 10 Table Bluff Road, 2007 WL 911849, *2 (N.D. Cal. Mar.
22     23, 2007) (“the plain language of the statute [i.e., 18 U.S.C. § 981(g)(5)] allows the
       Government to submit such ex parte evidence,” despite any objection by a claimant)
23     (citations omitted).
24           4
               Local Rule 79-6.3 provides:
25                  After reviewing a document in camera, the Court may order it to be
             filed publicly or under seal, with or without service, or otherwise disclosed
26           to other parties. Unless the Court orders it to be filed, or unless otherwise
             ordered by the Court, a document reviewed in camera must afterward be
27           retained by the counsel or party that presented it until final disposition of an
             appeal, entry of a stipulation waiving or abandoning the right to appeal,
28           expiration of the time for appeal (where no appeal is taken), or order of the
             Court, whichever occurs first.
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1      in that declaration would adversely affect the conduct of the government’s related
2      federal criminal investigation.
3            In light of the foregoing, the government respectfully submits that good cause
4      therefore exists for the application and requests the Court to enter the proposed order,
5      lodged contemporaneously herewith, for permission to file or lodge in camera the non-
6      public declaration.
7      Dated: March 6, 2023                          Respectfully submitted,
8                                                    E. MARTIN ESTRADA
                                                     United States Attorney
9                                                    MACK E. JENKINS
                                                     Assistant United States Attorney
10                                                   Chief, Criminal Division
                                                     JONATHAN GALATZAN
11                                                   Assistant United States Attorney
                                                     Chief, Asset Forfeiture and Recovery
12                                                   Section
13                                                         /s/             _____________
                                                     VICTOR A. RODGERS
14                                                   MAXWELL COLL
                                                     Assistant United States Attorneys
15                                                   Asset Forfeiture and Recovery Section
16                                                   Attorneys for Plaintiff
                                                     UNITED STATES OF AMERICA
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1                            DECLARATION OF VICTOR A. RODGERS
2            I, Victor A. Rodgers, declare and state as follows:
3            1.     I am an Assistant United States Attorney in the Office of the United States
4      Attorney for the Central District of California in Los Angeles, California, and am
5      responsible for the representation of the Plaintiff United States of America in this action.
6      I have personal and first-hand knowledge of the facts set forth in this Declaration and, if
7      called to testify, I could and would testify competently thereto.
8            2.     It is my opinion that good cause exists to file or lodge the non-public
9      declaration in camera. The disclosure of the information in that declaration would
10     adversely affect the conduct of a related federal criminal investigation. Such disclosure
11     would allow for the disclosure to the parties involved in the illegal conduct that is under
12     investigation and the public evidence and other information regarding the investigation.
13     In addition, there is a statutory basis (i.e., 18 U.S.C. § 981(g)(5)) for the submission of
14     the non-public declaration in camera.
15           I declare under penalty of perjury under the laws of the United States of America
16     that the foregoing is true and correct.
17           Executed on March 6, 2023 at Los Angeles, California.
18                                                                   /s/ __________
                                                             AUSA VICTOR A. RODGERS
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